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                                           August 17, 2020

VIA ECF
Honorable Loretta A. Preska
U.S. District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re: United States v. Steven Donziger, No. 19-CR-561 (LAP); 11-CIV-691 (LAK)

Dear Judge Preska:

       This is in response to the prosecution’s letter of August 11, 2020 (Dkt. 118)
requesting a Curcio hearing in this matter. While we do not believe the prosecution has
shown a need for such a hearing, we have no objection if the Court wishes to hold one.


                                                      Sincerely,

                                                      FRIEDMAN | RUBIN




                                                      Richard H. Friedman




                     O F F I C E S   I N    B R E M E R T O N   A N D   S E A T T L E
